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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES − GENERAL

  Case No.     2:17−cv−07083−RGK−MRW                               Date   2/26/2018
  Title        CARL ZEISS AG ET AL V. NIKON CORPORATION ET AL

  Present : The Honorable R. GARY KLAUSNER, UNITED STATES DISTRICT JUDGE
         Sharon Williams             Sandra MacNeil           N/A
           Deputy Clerk          Court Reporter / Recorder  Tape No.

       Attorneys Present for Plaintiffs:           Attorneys Present for Defendants:
       Chris Marchese                              Vincent Belusko
                                                   Jonathan McNeal Smith




 Proceedings:        SCHEDULING CONFERENCE

     Case called. Court and counsel confer. The Scheduling Conference is held and the
 Court sets the following dates:

       Jury Trial (Est. 6 days):                  November 6, 2018 at 09:00 AM
       Pretrial Conference:                       October 22, 2018 at 09:00 AM
       Motion Cut−Off Date (last day to file):    August 22, 2018
       Discovery Cut−Off Date:                    August 8, 2018

      Last day to motion the Court to add parties or amend complaint is 4/15/2018. Counsel
 inform the Court that they have selected settlement option number 2.

       IT IS SO ORDERED.
                                                                                         :06
                                                                  Initials of Preparer: sw

 cc:      ADR UNIT




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